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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION

UNITED STATES OF AMERICA               )
                                       )       CASE NO. CR 218-014
v.                                     )
                                       )
JOHN EUGENE OVERCASH                   )
                                       )

      NOTICE OF INTENT TO SEEK ENHANCED SENTENCE AS TO
              DEFENDANT JOHN EUGENE OVERCASH

      The United States intends to seek enhanced punishment under Title 21,

United States Code, Section 851.

      1.     Procedural History and Charges

      On March 7, 2018, a federal grand jury returned an indictment (Doc. 3)

charging Defendant John Eugene Overcash with the following offenses:

          Count 1, Conspiracy to Possess With Intent to Distribute and to Distribute

           Controlled Substances (5 Kilograms or More of Cocaine, a Quantity of

           Cocaine Base “Crack,” and a Quantity of Marijuana), in violation 21 U.S.C.

           § 846

          Count 23, Possession of Controlled Substance with Intent to Distribute

           (500 Grams or More of Cocaine and Marijuana), in violation of 21 U.S.C. §

           841(a)(1)

          Count 24, Possession of a Firearm by a Prohibited Person, in violation of

           18 U.S.C. § 922(g)(1)



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          Count 25, Maintaining a Drug-Involved Premises, in violation of 21 U.S.C.

           § 856(a)(1)

          Count 26, Possession of a Firearm in Furtherance of a Drug Trafficking

           Crime, 18 U.S.C. § 924(c)

          Count 35, Unlawful Use of a Communications Facility, in violation of 21

           U.S.C. § 843(b)

      Count 1, as alleged in the indictment, carries a potential punishment of not

less than 10 years of imprisonment and not more than life; not more than a

$10,000,000 fine; not less than 5 years of supervised release, up to life; and a $100

mandatory special assessment. However, if “any person commits such a violation

after a prior conviction for a felony drug offense has become final,” such person will

be subject to an enhanced punishment as follows: not less than 20 years of

imprisonment; not more than $20,000,000 fine; and not less than 10 years of

supervised release, up to life. 21 U.S.C. § 841(b)(1)(A).

      Count 23, as alleged in the indictment, carries a potential punishment of not

less than 5 years of imprisonment, not more than 40 years; not more than $5,000,000

fine; and not less than 4 years of supervised release, up to life. However, if “any

person commits such a violation after a prior conviction for a felony drug offense has

become final,” such person will be subject to an enhanced punishment as follows: Not

less than 10 years of imprisonment, not more than life; not more than $8,000,000 fine;

and not less than 8 years of supervised release, up to life. 21 U.S.C. § 841(b)(1)(B).




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      2.     Law and Circumstances

Title 21, United States Code, Section 851, states in part:

      (a)(1) No person who stands convicted of an offense under this part shall be

sentenced to increased punishment by reason of one or more prior convictions, unless

before trial, or before entry of a plea, the United States attorney files an information

with the court (and serves a copy of such information on the person or counsel for the

person) stating in writing the previous convictions to be relied upon….

      The government is hereby providing notice of enhanced penalty and noticing

the following qualifying drug convictions for the defendant:

      (1)    Sale of Marijuana, Glynn County Superior Court, Case No. 8800599, on

September 17, 1990.

      3.     Conclusion

      Because the defendant has qualifying drug convictions, the United States is

seeking enhanced punishment.

                                           Respectfully submitted,

                                           BOBBY L. CHRISTINE
                                           United States Attorney

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                                           Assistant United States Attorney
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                            CERTIFICATE OF SERVICE

      The undersigned AUSA hereby certifies that a copy of this pleading has been

filed in the ECF system and therefore served on the defendant.



                                         Respectfully submitted,

                                         BOBBY L. CHRISTINE
                                         United States Attorney

                               By:       s/ Matthew A. Josephson
                                         Assistant United States Attorney
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